           Case 2:07-cr-00298-MCE Document 96 Filed 02/21/13 Page 1 of 2


 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JESUS LUPIAN
 6
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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,      ) Case No. 2:07-cr-00298 MCE
                    Plaintiff,      )
13                                  )
          v.                        ) CORRECTED STIPULATION AND ORDER
14                                  ) CONTINUING STATUS CONFERENCE TO March
     JESUS LUPIAN,                  ) 28, 2013
15                                  )
                    Defendant.      ) Date: February 21, 2013
16                                  ) Time: 9:00 a.m.
     ______________________________ ) Judge: Hon. Morrison C. England, Jr.
17                                  )
18        IT IS HEREBY STIPULATED and agreed to between the UNITED STATES OF
19   AMERICA through Olusere Olowoyeye, Assistant United States Attorney,
20   and JESUS LUPIAN, by and through his counsel, Jeffrey L. Staniels,
21   Assistant Federal Defender, that the status conference (Admit or Deny
22   Hearing) in the above-captioned case be continued from February 21,
23   2013, to March 28, 2013, at 9:00 a.m. for status conference.
24        This continuance is sought to permit further defense preparation
25   including disclosure of certain evidence to the government and
26   Probation Officer and further investigation into an issue raised be the
27   presence of another person in the car which Mr. Lupian was driving.
28        IT IS ALSO STIPULATED the Speedy Trial Act is not implicated by
            Case 2:07-cr-00298-MCE Document 96 Filed 02/21/13 Page 2 of 2


 1   this request and that the delay sought is no longer than thought to be
 2   reasonably necessary to provide adequate time to prepare the defense.
 3         IT IS SO STIPULATED.
 4
 5   Dated: February 19, 2013           /s/ J. Staniels for
                                       OLUSERE OLOWOYEYE
 6                                     Assistant United States Attorney
                                       Counsel for Plaintiff
 7
 8
     Dated: February 19, 2013           /s/ Jeffrey L. Staniels
 9                                     JEFFREY L. STANIELS
                                       Assistant Federal Defender
10                                     Counsel for Defendant
                                       JESUS LUPIAN
11
12                                         ORDER
13         The stipulation of the parties is hereby accepted and the
14   requested continuance is GRANTED.       This matter shall be dropped from
15   this court’s February 21, 2013, calendar, and re-calendared for status
16   conference on March 28, 2013, at 9:00 a.m.
17
18         IT IS SO ORDERED.
19
20
21   Dated: February 21, 2013
22
23
24                                        _____________________________________________
25                                        MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                          UNITED STATES DISTRICT JUDGE
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27
28

     Stipulation & Order
     Continuing Case                         2
